Case 25-00009-ELG Doc Filed 03/25/25 Entered 03/25/25 08:18:28 Desc Main

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Debtor 1. Gina A Hough

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the District of DISTRICT OF COLUMBIA

Case number 25-00009-ELG

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert are
recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: U.S. BANK TRUST NATIONAL Court claim no. (if known): 7-1
ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT

SOLELY AS OWNER TRUSTEE FOR RCF 2 ACQUISITION

TRUST

Last 4 digits of any number you use to
identify the debtor's account: 6368

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?

HB No

O Yes. Date of the last notice:

Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate
that approval in parentheses after the date the amount was incurred.

Description Date Incurred Amount
1 Late Charges (1) $0.00
2 Non-sufficient funds (NSF) fees (2) $0.00
3 Attorneys fees (3) $0.00
4 Filing fee and court costs (4) $0.00
5 Bankruptcy/Proof of claim fees (5) $0.00
6 Appraisal/Broker's Price opinion fees (6) $0.00
7 Property inspection fees (7) $0.00
8 Tax Advances (non-escrow) (8) $0.00
9 Insurance advances (non-escrow) (9) $0.00
10 Property preservation expenses (10) $0.00
11 Other. Specify: Plan Review 2/11/2025 (11) $350.00
12 Other. Specify: (12) $0.00
13 Other. Specify: (13) $0.00
14 Other. Specify: (14) $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.

See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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Debtor 1 Gina A Hough Case number (ifknown) 25-00009-ELG

Print Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.
Ol am the creditor

@ | am the creditors authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

x /s/ Francisco Cardona pate March 21, 2025
Signature
Print Francisco Cardona Title Authorized Agent
First Name Middle Name Last Name
Company Robertson, Anschutz, Schneid, Crane & Partners, PLLC
Address 13010 Morris Road, Suite 450
Number Street
Alpharetta GA 30004
City State ZP Code
ContactPhone 470-321-7112 Email feardona@raslg.com

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CERTIMEATE BICSERVICE

I HEREBY CERTIFY that on____ March 25, 2025 , l electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to the

following:

Gina A Hough
2939 Macomb Street
Washington, DC 20008

And via electronic mail to:

Christianna Annette Cathcart
The Dakota Bankruptcy Firm
1630 First Ave N

Ste B PMB 24

Fargo, ND 58102-4246

Maurice Belmont VerStandig
The VerStandig Law Firm, LLC
9812 Falls Road

#114-160

Potomac, MD 20854

Rebecca A. Herr

185 Admiral Cochrane Dr
Ste 240

Annapolis, MD 21401

U.S. Trustee for Region Four
U.S. Trustee's Office

1725 Duke Street

Suite 650

Alexandria, VA 22314

By: /s/ Francisco Cardona

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